            Case 19-10321-elf    Doc 50Filed 12/10/19 Entered 12/11/19 12:45:57           Desc Main
                                       Document      Page 1 of 1
                                UNITED STATES BANKRUTPCY COURT
                            FOR THE EASTERN DISTRICT OF PENNSYLVANIA


         IN RE:                                     Chapter 13
         JOANNE M GALLIGAN



                                Debtor              Bankruptcy No. 19-10321-ELF



                                                    ORDER

            AND NOW, upon consideration of the Motion to Dismiss Case filed by William C. Miller, Standing

   Trustee, and after notice and hearing, it is hereby ORDERED that this case is DISMISSED and that any wage

   orders previously entered are VACATED.




Date: December 10, 2019
                                         _________________________________
                                                     Eric L. Frank
                                                     Bankruptcy Judge

  William C. Miller, Trustee
  P.O. Box 1229
  Philadelphia, PA 19105

  Debtor’s Attorney:
  DAVID B. SPITOFSKY ESQUIRE
  LAW OFFICES OF DAVID SPITOFSKY
  516 SWEDE ST
  NORRISTOWN, PA 19401-


  Debtor:
  JOANNE M GALLIGAN

  317 WALNUT HILL LANE

  HAVERTOWN, PA 19083
